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                                       Kevin J. Nash, Esq.
                                     Direct (212) 301-6944
                                    Facsimile (212) 221-6532
                                    KNash@GWFGLaw.com




                                                        February 23, 2021


   Via ECF and Email
   Honorable Robert D. Drain
   United States Bankruptcy Court
   300 Quarropas Street
   White Plains, NY 10601-4140

   Re:    Mosdos Chofetz Chaim, Inc.
          Case No. 12-23616-RDD
          Adversary Proceeding: 20-08949-RDD

   Dear Judge Drain:

   I am writing to advise the Court that Mr. Levine intends to file a response to the request
   [ECF No. 113] made by Mr. Vann for an adjournment of the trial at his first opportunity.
   Unfortunately, Mr. Levine has experienced some side-effects from the Covid vaccine.
   Hopefully, he will be back in shape sometime tomorrow, and a letter response will be
   forthcoming shortly thereafter.

                                                Respectfully yours,

                                                /s/ Kevin J. Nash

   cc:    Avrom R. Vann, Esq.
          Michael Levine, Esq.
